              Case 1:21-cv-05595-CM Document 8 Filed 08/24/21 Page 1 of 1




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International Ocean

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

ALCON PHARMACEUTICALS LTD.,                           No. 1:21-cv-05595

                          Plaintiff,                  DEFENDANT EXPEDITORS
                                                      INTERNATIONAL OCEAN’S
                   -against-                          FRCP 7.1 DISCLOSURE

EXPEDITORS INTERNATIONAL OCEAN,

                          Defendant.

         COMES NOW defendant Expeditors International of Washington, Inc., d/b/a “Expeditors

International Ocean” as named herein, as and for its FRCP 7.1 Disclosure Statement, and advises

that it is a publicly traded corporation of which no entity owns 10% in stock.

         Dated: Seattle, Washington
                August 24, 2021

                                                  LANE POWELL PC


                                                  By: s/ Steven Block
                                                     Steven Block
                                                     NY State Bar No. 2121259

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